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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                 )
    UNITED STATES OF AMERICA,                    )
                                                 )
    v.                                           )       Criminal Case No. 22-cr-00007-LKG
                                                 )
    MARILYN J. MOSBY,                            )       Dated: January 27, 2023
                                                 )
          Defendant.                             )
                                                 )

                                               ORDER
         On January 19, 2023, the six Defense Counsel in the above-captioned criminal matter, A.
Scott Bolden, Rizwan A. Quereshi, Kelley Miller, Anthony R. Todd, Gary E. Proctor and Lucius
Outlaw, filed a motion to withdraw as counsel. ECF No. 174. Defense Counsel state that the
Defendant, Marilyn J. Mosby, consents to this motion. Id. Defense Counsel also state that,
should the Court grant their motion to withdraw, the Office of the Federal Public Defender for
this District has no conflict and is available for appointment to serve as the Defendant’s counsel.
Id. The Government opposes the motion to withdraw. ECF No.175.
         On January 23, 2023, the Defendant also moved to continue certain filing deadlines for
pre-trial motions. ECF No. 177. The Government also opposes this motion. ECF No. 179. The
Court held a status conference on these matters on January 27, 2023.
         For the reasons stated during the status conference held in this matter on January 27,
2023, and for good cause shown, the Court GRANTS Defense Counsel’s motion to withdraw as
to A. Scott Bolden, Rizwan A. Quereshi, Kelley Miller, Anthony R. Todd, Gary E. Proctor and
Lucius Outlaw. The appearances of A. Scott Bolden, Rizwan A. Quereshi, Kelley Miller,
Anthony R. Todd, Gary E. Proctor and Lucius Outlaw are hereby WITHDRAWN as counsel for
the Defendant in this matter.
         The Defendant has requested that the Court appoint counsel to represent her in this
criminal matter. 1 The Defendant having been found to be indigent and entitled to appointment of


1
  Local Rule 201.2 provides that counsel for indigent defendants shall be appointed in accordance with
the procedures established by the Court’s Criminal Justice Act (“CJA”) Plan. See L.R. 201.2; see also 18
U.S.C. § 3006A. The determination of eligibility for representation under the CJA is a judicial function
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counsel under the Criminal Justice Act, and the Government having proffered that it currently
knows of no conflict precluding the appointment of the Federal Public Defender, it is hereby
ORDERED that:
        1. The Federal Public Defender for the District of Maryland is APPOINTED to
             represent the Defendant in this matter.
        It is further ORDERED that:
        1.      The remaining pre-trial deadlines set forth in the Court’s Scheduling Order dated
                September 15, 2022, are HELD-in-ABEYENCE.
        2.      The parties shall MEET and CONFER and FILE a joint status report on or
                before February 3, 2023, stating their respective views on whether they seek
                modifications to the remaining schedule for pre-trial proceedings and trial.
        3.      Defendant’s motion to continue is DENIED-as-MOOT.
        IT IS SO ORDERED.



                                                     s/ Lydia Kay Griggsby
                                                     LYDIA KAY GRIGGSBY
                                                     United States District Judge




to be performed by the Court, after making appropriate inquiries concerning the person’s financial
eligibility. See CJA Plan at IV(B)(2). Any doubts about the Defendant’s eligibility should be resolved in
her favor because erroneous determinations of eligibility may be corrected at a later time. Id.




                                                                                                        2
